                Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 1 of 31




                                   UNITED STATES DISTRICT COURT
                                   DISTRICT OF PUERTO RICO


                                                           )
  THE GOVERNMENT OF PUERTO RICO,                           )    Civ. Num. 20-
  Represented by its Attorney General, the HON.            )
  DENISSE N. LONGO QUIÑONES,                               )
                                                           )    Re: Unjust Enrichment
  Plaintiff,                                               )
                                                           )
  vs.                                                      )
                                                           )   JURY TRIAL DEMANDED
  HITACHI AUTOMOTIVE SYSTEMS, LTD.,                        )
  HITACHI AUTOMOTIVE SYSTEMS                               )
  AMERICAS, INC., DENSO CORPORATION,                       )
  and DENSO INTERNATIONAL AMERICA,                         )
  INC.                                                     )
                                                           )
  Defendants.                                              )
                                                           )
                                                           )
                                                           )


                                        COMPLAINT

  TO THE HONORABLE COURT:

         COMES NOW, Plaintiff, The Government Of Puerto Rico, Represented by its Attorney General,

the Hon. Dennise Longo Quiñones, on behalf of the Government of Puerto Rico and in parens patriae on

behalf of the population of Puerto Rico and its governmental agencies, and very respectfully states and

prays:


                                          NATURE OF ACTION

               1. This lawsuit is brought against Defendants Hitachi Automotive Systems, Ltd., Hitachi

    Automotive Systems Americas, Inc. (together, “Hitachi”), DENSO Corporation and DENSO

    International America, Inc. (together, “DENSO”) (collectively, “Defendants”) and unnamed co-

    conspirators, manufacturers and/or suppliers of Air Flow Meters (defined below) for engaging in

                                                     1
            Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 2 of 31



a long-running conspiracy to unlawfully fix, artificially raise, maintain and/or stabilize prices, rig

bids for, and allocate the market and customers in the United States for Air Flow Meters in

violation of the Clayton Act and for unjustly enriching the defendants at the cost of unjust

impoverishment of the consumers and governmental agencies of Puerto Rico. Plaintiff brings this

action on behalf of the Government of Puerto Rico and in parens patriae on behalf of the

population of Puerto Rico and its governmental agencies, for damages incurred during the period

from and including January 1, 2000 through such time as the anticompetitive effects of the

Defendants’ conduct ceased (the “Period”), who purchased or leased a new vehicle in Puerto Rico

for government or personal use and not for resale which included one or more Air Flow Meter(s)

as a component part, or indirectly purchased one or more Air Flow Meter(s) as a replacement part,

which were manufactured or sold by the Defendants, any current or former subsidiary of the

Defendants, or any co-conspirator of the Defendants.

       2.       “Air Flow Meters” measure the volume of air flowing into engines and are part of

the engine management systems and automotive sensors segment of the automotive market.

       3.       The Defendants manufacture, market, and sell Air Flow Meters throughout and

into the United States.

       4.       The Defendants and other co-conspirators (as yet unknown) agreed, combined and

conspired to fix, raise, maintain and/or stabilize prices, and allocate market shares for Air Flow

Meters in violation of the Clayton Act.

       5.       The U.S. Department of Justice’s (“DOJ”) Antitrust Division conducted a broad

criminal investigation into illegal price-fixing and bid-rigging in the automotive parts industry

that was winding down by the end of 2019.

       6.       As part of its criminal investigation, the DOJ sought information about unlawful

anticompetitive conduct in the market for a number of different but related automotive parts, and

                                                 2
            Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 3 of 31



the Federal Bureau of Investigation (“FBI”) participated in raids, pursuant to search warrants,

carried out in the offices of a number of major competitors in the automotive parts industry.

       7.       The automotive parts investigation is the largest criminal investigation the

Antitrust Division has ever pursued, both in terms of its scope and the potential volume of

commerce affected by the alleged illegal conduct.

       8.       The cartel investigation of price-fixing and bid-rigging in the automotive parts

industry has yielded more than $1.6 billion in criminal fines.

       9.       The European Commission Competition Authority (“EC”) has also conducted

dawn raids at the European offices of several automotive parts manufacturers.

       10.      On September 26, 2013, the DOJ announced that Defendant Hitachi Automotive

Systems, Ltd. agreed to plead guilty and pay a $195 million criminal fine for its role in a

conspiracy to fix prices of automotive parts, including Air Flow Meters, installed in automobiles

manufactured and sold in the United States and elsewhere.

       11.      Hitachi sold price-fixed automotive parts, including Air Flow Meters, to

automobile companies headquartered in the United States.

       12.      The companies to which Hitachi sold automotive parts include Ford Motor

Company and General Motors, LLC.

       13.      Defendants and their co-conspirators participated in a combination and conspiracy

to suppress and eliminate competition in the automotive parts industry by agreeing to allocate the

supply of, rig bids for, and fix, stabilize, and maintain the prices of, Air Flow Meters sold to

automobile manufacturers in the United States and elsewhere.

       14.      The combination and conspiracy engaged in by the Defendants and their co-

conspirators allowed Defendants and their co-conspirators to be unjustly enriched at the expense

of the consumers and governmental agencies of Puerto Rico was an unreasonable restraint of

                                                3
          Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 4 of 31



interstate and foreign trade and commerce in violation of the Sherman Antitrust Act, 15 U.S.C.§1

and, under the Clayton Act,15 U.S.C. §26, the Government of Puerto Rico is entitled to an

injunction, precluding defendants from continuing this illegal activity. .

        15.     As a direct result of the unlawful conduct alleged herein, consumers and

governmental agencies of Puerto Rico paid artificially inflated prices for Air Flow Meters during

the Period and have thereby suffered injury to their business or property.

                                  JURISDICTION AND VENUE

        16.     This Court has jurisdiction over the subject matter of this action pursuant to

Section 16 of the Clayton Action (15 U.S.C. § 26). This Court also has jurisdiction over the

Puerto Rico law claim under its pendent jurisdiction.

        17.        Venue is proper in this District pursuant to 28 U.S.C. § 1391 and Section 12 of the

Clayton Act (15 U.S.C. §22 and 28 U.S.C. §§ 1391 (b), (c), and (d), because a substantial part of the

events giving rise to Plaintiff’s claims occurred in this District; a substantial portion of the affected

interstate trade and commerce discussed below has been carried out in this District; and the

Defendants reside, are licensed to do business in, are doing business in, had agents in, or are found or

transact business in this District.

        18.     This Court has in personam jurisdiction over the Defendants because the

Defendants, either directly or through the ownership and/or control of their subsidiaries, inter

alia: (a) transacted business in the United States, including in this District; (b) directly or

indirectly sold or marketed substantial quantities of Air Flow Meters throughout the United

States, including in this District; and (c) had substantial aggregate contacts with the United

States as a whole, including Puerto Rico, were engaged in an illegal price-fixing conspiracy

that was directed at, and had a direct, substantial, reasonably foreseeable, and intended effect

of causing injury to the business or property of persons and entities residing in, located in, or

                                                 4
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 5 of 31



doing business throughout the United States, including in this District.

       19.     The Defendants also conduct business throughout the United States, including

Puerto Rico , and have purposefully availed themselves of the laws of the United States and

Puerto Rico.

       20.     The Defendants engaged in conduct both inside and outside of the United States

that caused direct, substantial and reasonably foreseeable and intended anticompetitive effects

upon interstate commerce within the United States, including Puerto Rico.

       21.     The activities of the Defendants and their co-conspirators were within the flow of,

were intended to, and did have, a substantial effect on interstate commerce of the United States,

including Puerto Rico.

       22.     The Defendants’ products are sold in the flow of interstate commerce, including

Puerto Rico.

       23.     Air Flow Meters manufactured abroad by the Defendants and sold for use in

automobiles in the United States are goods brought into the United States for sale, and therefore

constitute import commerce.

       24.     To the extent any Air Flow Meters are purchased in the United States, and such

Air Flow Meters do not constitute import commerce, the Defendants’ unlawful activities with

respect thereto, as more fully alleged herein during the Period, had, and continue to have, a direct,

substantial and reasonably foreseeable effect on United States commerce, including Puerto Rico.

       25.     The anticompetitive conduct, and its effect on United States commerce described

herein, proximately caused injury to Plaintiff and the population of Puerto Rico.

       26.     By reason of the unlawful activities hereinafter alleged, the Defendants

substantially affected commerce throughout the United States, including Puerto Rico, causing

injury to the government of Puerto Rico and consumers in Puerto Rico, whom the Attorney

                                                 5
          Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 6 of 31



General represents parens patriae in this case.

        27.     The Defendants, directly and through their agents, engaged in activities affecting

all United States jurisdictions, including Puerto Rico, to fix, raise, maintain and/or stabilize prices,

rig bids and allocate the market and customers in the United States for Air Flow Meters, which

conspiracy unreasonably restrained trade, adversely affected the market for Air Flow Meters, and

unjustly enriched Defendants at the expense of the population of Puerto Rico and the

governmental agencies of Puerto Rico.

        28.     The Defendants’ conspiracy and wrongdoing described herein adversely affected

Puerto Rico consumers and governmental agencies who purchased Air Flow Meters for personal

use and not for resale.


                                            PARTIES

                                            Plaintiff

       29.        During the Period, the consumers and governmental agencies of Puerto Rico

purchased Air Flow Meters manufactured by Defendants for personal/governmental use and not

resale, and thereby suffered the harm described herein.

       30.        Attorney General Longo Quiñones represents those consumers and governmental

agencies in her parens patriae capacity.


                                        Defendants

        31.     Defendant Hitachi Automotive Systems, Ltd. is a Japanese corporation with its

principal place of business in Tokyo, Japan. Hitachi Automotive Systems, Ltd. – directly and/or

through its subsidiaries, which it wholly owned and/or controlled – manufactured, marketed

and/or sold Air Flow Meters that were purchased throughout the United States, including in this

District, during the Period.

                                                  6
            Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 7 of 31



       32.      Defendant Hitachi Automotive Systems Americas, Inc. is a Delaware corporation

with its principal place of business in Harrodsburg, Kentucky. It is a subsidiary of and wholly

owned and/or controlled by its parent, Hitachi Automotive Systems, Ltd.

       33.      Hitachi Automotive Systems Americas, Inc. manufactured, marketed and/or sold

Air Flow Meters that were purchased throughout the United States, including in this District,

during the Period.

       34.      Defendant DENSO Corporation is a Japanese corporation with its principal place

of business in Kariya, Aichi Prefecture, Japan. DENSO Corporation – directly and/or through its

subsidiaries, which it wholly owned and/or controlled – manufactured, marketed and/or sold Air

Flow Meters that were purchased throughout the United States, including in this district, during

the Period.

       35.      Defendant DENSO International America, Inc. is a Delaware corporation with its

principal place of business in Southfield, Michigan. It is a subsidiary of and wholly owned and/or

controlled by its parent, DENSO Corporation. DENSO International America, Inc. –directly and/or

through its subsidiaries, which it wholly owned and/or controlled – manufactured, marketed,

and/or sold Air Flow Meters that were purchased throughout the United States, including in this

District, during the Period. At all times during the Period, its activities in the United States were

under the control and direction of its Japanese parent, which controlled its policies, sales, and

finances.

                             AGENTS AND CO-CONSPIRATORS

       36.      Each Defendant acted as the principal of or agent for the other Defendants with

respect to the acts, violations, and common course of conduct alleged herein.

       37.      Various persons, partnerships, sole proprietors, firms, corporations and individuals

not named as defendants in this lawsuit, and individuals, the identities of which are presently

                                                7
          Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 8 of 31



unknown, have participated as co-conspirators with the Defendants in the offenses alleged in this

Complaint, and have performed acts and made statements in furtherance of the conspiracy or in

furtherance of the anticompetitive conduct.

        38.     Whenever in this Complaint reference is made to any act, deed or transaction of

any corporation or limited liability entity, the allegation means that the corporation or limited

liability entity engaged in the act, deed or transaction by or through its officers, directors, agents,

employees or representatives while they were actively engaged in the management, direction,

control or transaction of the corporation’s or limited liability entity’s business or affairs.


                                   FACTUAL ALLEGATIONS

        A.      The Air Flow Meters Industry

        39.     An Air Flow Meter or mass air flow sensor, as it is more commonly known,

measures the volume of air flowing into the automobile’s engine, i.e., how much air is flowing

through a valve or passageway. It does not measure the volume of the air passing through a tube;

rather it measures the actual speed of the air flowing through the device in a defined time segment,

i.e, seconds. Typically, the speed is measured as kilograms/second.

        40.     Air density will vary due to temperature or use of forced induction in automobiles.

        41.     The function of the sensor is to allow the engine to balance properly and to deliver

the correct fuel mass to the engine to mix with air for combustion.

        42.     Coupled with an oxygen sensor, the engine's air to fuel ratio can be controlled very

accurately.

        43.     In the average light vehicle, there are anywhere between 60-100 sensors on board.

        44.     The mass air flow sensor belongs to the automotive sensors market.

        45.     The specific segment of the sensor market that incorporates components of Air

                Flow Meters is the microelectromechanical (“MEMS”) sensor market.
                                                  8
               Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 9 of 31



             46.    According to Industry Expert’s report “Global Automotive Sensors Market with

                    Special Focus on MEMS Sensors,” the automotive sensors market was a $16.2

                    billion industry in 2012.




47.   DENSO Defendants hold a global position of No. 2 overall for the entire automotive

      MEMS market. See Figure 1.




             Figure 1. MEMS Manufacturers’ revenues by rank.
                                                   9
        Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 10 of 31



                   HITACHI MANUFACTURED AIR FLOW METER




                              AIR FLOW METER DIAGRAM




       48.    Air Flow Meters are installed by original equipment manufacturers (“OEMs”) in

new cars as part of the automotive manufacturing process.

       49.    Air Flow Meters are also installed by OEMs in cars to replace worn out, defective,

or damaged Air Flow Meters.

                                             10
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 11 of 31



       50.     For new cars, the OEMs—mostly large automotive manufacturers such as Ford

Motor Company, Toyota Motor Corporation, General Motors LLC – purchase Air Flow Meters

directly from Defendants.

       51.     Air Flow Meters may also be purchased by component manufacturers who then

supply such systems to OEMs. These component manufacturers are also called “Tier 1

Manufacturers” in the industry.

       52.     Tier 1 Manufacturers supply Air Flow Meters directly to an OEM.

       53.     When purchasing Air Flow Meters, OEMs issue Requests for Quotation (“RFQs”)

to automotive parts suppliers on a model-by-model basis for model specific parts.

       54.     Automotive parts suppliers submit quotations, or bids, to OEMs in response to

RFQs, and the OEMs usually award the business to the selected automotive parts supplier for the

lifespan of the model, which is usually four to six years.

       55.     Typically, the bidding process for a particular model begins approximately three

years prior to the start of production of a new model.

       56.     OEMs procure parts for U.S.-manufactured vehicles in the United States and

elsewhere.

       57.     The Defendants and their co-conspirators supplied Air Flow Meters to OEMs for

installation in vehicles manufactured and sold in the United States and elsewhere.

       58.     The Defendants and their co-conspirators manufactured Air Flow Meters (a) in the

United States and elsewhere for installation in vehicles manufactured and sold in the United States;

(b) in Japan and elsewhere for export to the United States and installation in vehicles manufactured

and sold in the United States; and (c) in Japan and elsewhere for installation in vehicles

manufactured in Japan and elsewhere for export to and sale in the United States.

       59.     Plaintiff purchased Air Flow Meters indirectly from the Defendants.

                                                11
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 12 of 31



       60.        By way of example, an owner of a vehicle may indirectly purchase one or more Air

Flow Meter(s) from the Defendants as part of purchasing or leasing a new vehicle.

       61.        An owner of a vehicle may also indirectly purchase for replacement one or more

Air Flow Meter(s) from the Defendants when repairing a damaged vehicle or where one or more

of the vehicle’s Air Flow Meter(s) are defective.

       B.         The Structure and Characteristics of the Air Flow Meters
                  Market Render the Conspiracy More Plausible

       62.        The structure and other characteristics of the Air Flow Meters market in the United

States are conducive to a price-fixing agreement, and have made collusion particularly attractive

in this market.

       63.        Specifically, the Air Flow Meters market: (1) has high barriers to entry; and (2) has

inelasticity of demand.

                  1.     The Air Flow Meters Market Has High Barriers to Entry

       64.        A collusive arrangement that raises product prices above competitive levels would,

under basic economic principles, attract new entrants seeking to benefit from the supra-

competitive pricing.

       65.        Where, however, there are significant barriers to entry, new entrants are less likely.

Thus, barriers to entry help to facilitate the formation and maintenance of a cartel.

       66.        There are substantial barriers that preclude, reduce, or make more difficult entry

into the Air Flow Meters market.

       67.        A new entrant into the business would face costly and lengthy start-up costs,

including multi-million dollar costs associated with manufacturing plants and equipment, energy,

transportation, distribution infrastructure, and long-standing customer relationships.

       68.        The Defendants own several patents related to the manufacture of Air Flow Meters.


                                                   12
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 13 of 31



These patents place a significant and costly burden on potential new entrants, who must avoid

infringing on the patents when entering the market with a new product.

       69.     Moreover, within the Air Flow Meter industry, there is a significant amount of

technology and engineering expertise required to build systems that fully comply with

environmental and public health requirements and other regulatory standards including fuel

economy requirements.

       70.     In addition, OEMs cannot change Air Flow Meters suppliers randomly after a

supplier is initially selected because the OEMs design the features of their vehicles so that the Air

Flow Meters they purchase for a vehicle are then integrated with the other components of the

powertrain system of the particular vehicle model. Thus, the design must be synergized by the Air

Flow Meters manufacturers and OEMs. It would be difficult for a new market entrant to do so.

               2.      There is Inelasticity of Demand for Air Flow Meters

       71.     “Elasticity” is a term used to describe the sensitivity of supply and demand to

changes in one or the other. For example, demand is said to be “inelastic” if an increase in the

price of a product results in only a small decline in the quantity sold of that product, if any. In

other words, customers have nowhere to turn for alternative, cheaper products of similar quality

and so continue to purchase despite a price increase.

       72.     For a cartel to profit from raising prices above competitive levels, demand must be

relatively inelastic at competitive prices. Otherwise, increased prices would result in declining

sales, revenues, and profits, as customers purchased substitute products or declined to buy

altogether. Inelastic demand is a market characteristic that facilitates collusion, allowing producers

to raise their prices without triggering customer substitution and lost sales revenue.

       73.     Demand for Air Flow Meters is highly inelastic because there are no close

substitutes for these products. In addition, customers must purchase Air Flow Meters as an

                                                13
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 14 of 31



essential part of a vehicle, even if the prices are kept at a supra-competitive level.

       C.      Government Investigations

       74.       A globally coordinated antitrust investigation has taken place in the United States,

Europe, and Japan, aimed at suppliers of automotive parts.

       75.       A Japan Fair Trade Commission (“JFTC”) official told a leading legal publication

that automotive parts supplier investigations by the JFTC, DOJ and EC would continue to widen

because the automotive industry as a whole comprises many sub-industries. He characterized the

investigations being conducted by the U.S., European and Japanese antitrust authorities as “large

and broad,” and he declined to deny that this “would be history’s largest case.”

       76.     The DOJ Antitrust Division’s broad criminal investigation into illegal price-fixing

and bid-rigging in the automotive parts industry is the largest criminal investigation the Antitrust

Division has ever pursued.

       77.     The cartel investigation of price-fixing and bid-rigging in the automobile parts

industry has yielded more than $1.6 billion in criminal fines.

       78.     On September 26, 2013, the DOJ announced that Hitachi Automotive Systems, Ltd.

agreed to plead guilty and pay a $195 million criminal fine and to plead guilty to a one- count

criminal information charging it with participating in a combination and conspiracy to suppress

and eliminate competition in the automotive parts industry by agreeing to allocate the supply of,

rig bids for, and fix, stabilize, and maintain the prices of certain automotive products, including

Air Flow Meters, sold to automobile manufactures in the United States and elsewhere from at least

as early as January 2000 and continuing until at least February 2010 in violation of the Sherman

Act, 15 U.S.C. § 1.

       79.     According to the Information filed, Defendant Hitachi Automotive Systems, Ltd.

and its co-conspirators carried out the Air Flow Meters conspiracy by:

                                                 14
          Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 15 of 31



              (a)     participating in meetings, conversations, and communications in the United

States and elsewhere to discuss the bids and price quotations to be submitted to automobile

manufacturers in the United States and elsewhere;

              (b)     agreeing, during those meetings, conversations, and communications, on

bids and price quotations to be submitted to automobile manufacturers in the United States and

elsewhere;

              (c)     agreeing, during those meetings, conversations, and communications, to

allocate the supply automotive parts, including Air Flow Meters, sold to automobile manufactures

in the United States and elsewhere;

              (d)     agreeing, during those meetings, conversations, and communications, to

coordinate price adjustments requested by automobile manufacturers in the United States and

elsewhere;

              (e)     submitting bids, price quotations, and price adjustments to automobile

manufacturers in the United States and elsewhere in accordance with the agreements reached;

              (f)     selling automotive parts, including Air Flow Meters, to automobile

manufacturers in the United States and elsewhere at collusive and noncompetitive prices;

              (g)     accepting payment for automotive parts, including Air Flow Meters, sold to

automobile manufacturers in the United States and elsewhere at collusive and noncompetitive

prices;

              (h)     engaging in meetings, conversations, and communications in the United

States and elsewhere for the purpose of monitoring and enforcing adherence to the agreed-upon

bid-rigging and price-fixing scheme; and

              (i)     employing measures to keep their conduct secret, including, but not limited

to, using code names and meeting at remote locations.

                                              15
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 16 of 31



        D.     Likely Existence of a Cooperating Defendant

        80.    The Antitrust Criminal Penalty Enhancement and Reform Act (“ACPERA”)

provides leniency benefits for a participant in a price-fixing conspiracy that voluntarily discloses

its conduct to the Department of Justice.

        81.    In most recent cases in which guilty pleas for price- fixing conduct have been

obtained, there has been a cooperating party that has been accepted into the DOJ’s ACPERA

program as an “amnesty applicant.”

        82.    One of the leniency benefits for a conspirator that is accepted into the ACPERA

program is that it is not charged with a criminal offense and is not required to plead guilty to

criminal charges.

        83.    In light of the guilty plea in this case; the guilty pleas in related automotive parts

antitrust cases; and the DOJ’s investigation into the industry, it is reasonable for this Court to infer

that there is an ACPERA “amnesty applicant” in this case.

        E.     Guilty Pleas in Related Markets in the Automotive Industry

        84.    On January 30, 2012, the DOJ announced that Yazaki Corporation (“Yazaki”) had

agreed to pay a $470 million fine and plead guilty to a three-count criminal information charging

Yazaki with: (1) participating in a combination and conspiracy with its co-conspirators to suppress

and eliminate competition in the automotive parts industry by agreeing to rig bids for, and to fix,

stabilize, and maintain the prices of, automotive wire harnesses and related products sold to certain

automobile manufacturers in the United States and elsewhere from at least as early as January

2000 and continuing until at least February 2010 in violation of the Sherman Act, 15 U.S.C. § 1;

(2) participating in a combination and conspiracy to suppress and eliminate competition in the

automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and maintain the prices

of, instrument panel clusters sold to certain automobile manufacturers in the United States and

                                                 16
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 17 of 31



elsewhere, from at least as early as December 2002 until at least February 2010, in violation of the

Sherman Antitrust Act, 15 U.S.C. § 1; and (3) participating in a combination and conspiracy with

its co-conspirators to suppress and eliminate competition in the automotive parts industry by

agreeing to rig bids for, and to fix, stabilize, and maintain the prices of fuel senders sold to certain

automobile manufacturers in the United States and elsewhere from at least as early as March 2004

and continuing until at least February 2010 in violation of the Sherman Act, 15 U.S.C. § 1.

        85.      In addition to Yazaki, five executives from Yazaki (all Japanese nationals) –

Tsuneaki Hanamura, Ryoji Kawai, Shigeru Ogawa, Kazuhiko Kashimoto and Hisamitsu Takada

– pleaded guilty to their participation in a conspiracy to suppress and eliminate competition in the

automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and maintain the prices

of automotive wire harnesses sold to certain automobile manufacturers in the United States and

elsewhere in violation of the Sherman Act, 15 U.S.C. § 1. These five Yazaki executives will each

pay a $20,000 criminal fine and serve prison time ranging from 15 months to two years. The two-

year sentences would be the longest term of imprisonment imposed on a foreign national

voluntarily submitting to U.S. jurisdiction for a Sherman Act antitrust violation.

        86.      On September 29, 2011, the DOJ announced that Furukawa Electric Co. Ltd.

(“Furukawa”) had agreed to plead guilty and to pay a $200 million fine for its role in a criminal

price-fixing and bid-rigging conspiracy involving the sale of automotive wire harnesses to

automobile manufacturers.

        87.      Three of Furukawa’s executives also pleaded guilty to the same conspiracy. The

court sentenced two of the executives to 15 and 18 month prison sentences, to be served in the

United States.

        88.      On January 30, 2012, DENSO agreed to plead guilty to a two-count felony charge

against DENSO for engaging in conspiracies to rig bids for and to fix, stabilize and maintain the

                                                 17
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 18 of 31



prices of electronic control units (ECUs) and heater control panels (HCPs) sold to automobile

manufacturers in the United States and elsewhere.

        89.      On March 26, 2012, a DENSO executive agreed to plead guilty in a criminal price-

fixing and bid-rigging conspiracy involving the sale of heater control panels to automobile

manufacturers.

        90.      On April 26, 2012, another DENSO executive agreed to plead guilty to the same

conspiracy.

        91.      A number of additional companies have pleaded guilty to fixing the prices of other

automotive parts, including: automotive wire harnesses; instrument panel clusters; fuel senders;

heater control panels; occupant safety restraint systems; automotive bearings; windshield wipers;

starters; radiators; alternators; ignition coils; anti-vibration rubber parts, air conditioning systems;

automatic transmission fluid warmers; fan motors; switches; steering angle sensors; HID ballasts;

and automotive lamps. These companies include: Fujikura Ltd.; GS Electech, Inc.; TRW

Deutschland Holding GmbH; Autoliv, Inc.; Nippon Seiki Co., Ltd.; JTEKT Corporation; Mitsuba

Corporation; Mitsubishi Electric Corporation; Mitsubishi Heavy Industries, Ltd.; NSK Ltd.;

Panasonic Corporation; T. RAD Co., Ltd.; Tokai Rika Co.; Valeo Japan Co., Ltd.; and Yamashita

Rubber Co., Ltd.

        92.      Sharis A. Pozen, then the Acting Assistant Attorney General in charge of the

Department of Justice’s Antitrust Division said there is no doubt consumers were hurt financially

by the automotive wire harness price-fixing conspiracy. She further stated: “By rigging bids . . .

[automotive parts manufacturers engaged in a price-fixing conspiracy] inflated what some of their

auto manufacturing clients paid, and indirectly, what consumers paid for some cars.” She also

explained that “[a]s a result of this international price-fixing and bid-rigging conspiracy,

automobile manufacturers paid noncompetitive and higher prices for parts in cars sold to U.S.

                                                 18
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 19 of 31



consumers.”

       93.     Ms. Pozen also stated that “[t]his cartel harmed an important industry in our

nation’s economy, and the Antitrust Division with the Federal Bureau of Investigation will

continue to work together to ensure that these kinds of conspiracies are stopped.”

       94.     Ms. Pozen went on to say that there was no doubt that United States consumers

were hurt financially by the cartel’s activity.

       95.     In a separate press statement, Ms. Pozen vowed to continue the investigation into

“pernicious cartel conduct that results in higher prices to American consumers”.

       96.     “This criminal activity has a significant impact on the automotive manufacturers in

the United States, Canada, Japan and Europe and has been occurring for at least a decade. The

conduct had also affected commerce on a global scale in almost every market where automobiles

are manufactured and/or sold,” said FBI’s Special Agent in Charge Andrew G. Arena.

       97.     “When companies partner to control and price fix bids or contracts, it undermines

the foundation of the United States’ economic system,” Arena also said. “The FBI is committed

to aggressively pursuing any company involved in antitrust crimes.”

       98.     On May 21, 2013, two DENSO Corporation executives agreed to plead guilty to

conspiring to fix prices of Heater Control Panels. One of the two executives further agreed to plead

guilty to conspiring to fix the prices of electronic control units, which regulate power windows,

power locks and other electrical systems. The executives agreed to serve time in U.S. prison and

pay a criminal fine.

       99.     On July 10, 2013, the European Commission fined four wire harness suppliers,

Yazaki, S-Y Systems, Furukawa Electric and Leoni, a total of $182 million for taking part in

cartels that affected Toyota, Nissan, Honda and Renault.

       100.    On July 18, 2013, Panasonic Corporation agreed to pay a $45.8 million fine and

                                                  19
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 20 of 31



plead guilty to price-fixing allegations involving turn, wiper and other switches and steering angle

sensors sold to Toyota and high intensity discharge ballasts sold to Honda, Mazda and Nissan

among others.

       101.         On September 11, 2013, an executive of G.S. Electech, Inc. was indicted for a

conspiracy to fix the prices of speed sensor wire assemblies.

       102.         On September 11, 2013, two Fujikura, Ltd. executives were indicted for conspiring

to fix the price of wire harness assemblies sold to Fuji Heavy Industries, the maker of Subaru

automobiles.

       103.         On September 24, 2013, a Panasonic Automotive Systems Corporation executive

was indicted for a conspiracy to fix prices of switches and steering angle sensors sold to Toyota

and installed in U.S. cars.

       104.         On September 26, 2013, nine additional Japanese automotive suppliers, including

Defendant Hitachi Automotive Systems, Ltd., and two more executives agreed to plead guilty to

conspiracy charges and pay more than $740 million in fines for their roles in rigging the prices of

30 products.

       105.         To date, 20 companies and 21 executives have been charged in the Antitrust

Division’s investigation into price fixing and bid rigging in the auto parts industry.

       106.         Each of the twenty companies have either pleaded guilty or have agreed to plead

guilty and have agreed to pay more than 1.6 billion in criminal fines.

       107.         Seventeen of the twenty-one executives have been sentenced to serve time in U.S.

prisons or have entered into plea agreement.

                          PLAINTIFF AND THE POPULATION OF PUERTO RICO
                                   SUFFERED ANTITRUST INJURY

       108.         The Defendants’ price-fixing conspiracy had the following effects, among others:

              (a)       Price competition has been restrained or eliminated with respect to Air Flow
                                                   20
             Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 21 of 31




Meters;

                  (b)       The prices of Air Flow Meters have been fixed, raised, maintained, or

stabilized at artificially inflated levels;

                  (c)       Indirect purchasers of Air Flow Meters have been deprived of free and open

competition; and

                  (d)       Indirect purchasers of Air Flow Meters paid artificially inflated prices.

           109.         During the Period, Plaintiff and the population of Puerto Rico paid

   supracompetitive prices for Air Flow Meters. These inflated prices have been passed on to them

   by OEMs and dealers.

           110.         The markets for Air Flow Meters and vehicles are inextricably linked and

   intertwined because the market for Air Flow Meters exists to serve the vehicle market. Without

   the vehicles, the Air Flow Meters have little to no value because they have no independent utility.

   Indeed, the demand for vehicles creates the demand for Air Flow Meters.

           111.         As stated in the 2010 Annual Report of Lear Corporation, an automobile parts

   supplier: “Our sales are driven by the number of vehicles produced by the automotive

   manufacturers, which is ultimately dependent on consumer fleet demand for automotive vehicles.”

           112.         Air Flow Meters are identifiable, discrete physical products that remain essentially

   unchanged when incorporated into a vehicle. As a result, Air Flow Meters follow a traceable

   physical chain of distribution from the Defendants to Plaintiff and the population of Puerto Rico,

   and any costs attributable to Air Flow Meters can be traced through the chain of distribution to

   Plaintiff, the population of Puerto Rico and its governmental agencies.

           113.         Just as Air Flow Meters can be physically traced through the supply chain, so can

   their price be traced to show that changes in the prices paid by direct purchasers of Air Flow Meters

   affect prices paid by indirect purchasers of new motor vehicles containing Air Flow Meters and
                                                        21
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 22 of 31



Air Flow Meters purchased for repair purposes.

       114.    While even a monopolist would increase its prices when the cost of its inputs

increased, the economic necessity of passing through cost changes increases with the degree of

competition a firm faces.

       115.    The OEM and dealer markets for new motor vehicles are subject to vigorous price

competition.

       116.    The OEMs and dealers have thin net margins, and are therefore at the mercy of

their component costs, such that increases in the price of components such as Air Flow Meters

lead to corresponding increases in prices for new motor vehicles and replacement parts at the OEM

and dealer levels.

       117.    When downstream distribution markets are highly competitive, as they are in the

case of new motor vehicles containing Air Flow Meters as components, overcharges are passed

through to ultimate consumers, such as the indirect- purchasers, Plaintiff and the population of

Puerto Rico and its governmental agencies.

       118.    Hence, the inflated prices of Air Flow Meters both in new motor vehicles and those

purchased for repair resulting from the Defendants’ and their co-conspirators’ bid-rigging and

price-fixing conspiracy have been passed on to Plaintiff, the population of Puerto Rico and its

governmental agencies by OEMs and dealers.

       119.    The economic and legal literature has recognized that unlawful overcharges in a

component normally result in higher prices for products containing that price-fixed component.

       120.    Two antitrust scholars – Professors Robert G. Harris (Professor Emeritus and

former Chair of the Business and Public Policy Group at the Haas School of Business at the

University of California at Berkeley) and the late Lawrence A. Sullivan (Professor of Law

Emeritus at Southwestern Law School and author of the Handbook of the Law of Antitrust) – have

                                              22
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 23 of 31



observed that “in a multiple- level chain of distribution, passing on monopoly overcharges is not

the exception: it is the rule.”

        121.      As Professor Jeffrey K. MacKie-Mason (Arthur W. Burks Professor for

Information and Computer Science and Professor of Economics and Public Certification), an

expert who presented evidence in a number of indirect purchaser cases involving Microsoft

Corporation, said (in a passage quoted in the judicial decision in that case granting class

certification):

                  As is well known in economic theory and practice, at least some of
                  the overcharge will be passed on by distributors to end consumers.
                  When the distribution markets are highly competitive, as they are
                  here, all or nearly the entire overcharge will be passed on through to
                  ultimate consumers…Both of Microsoft’s experts also agree upon
                  the economic phenomenon of cost pass through, and how it works
                  in competitive markets. This general phenomenon of cost pass
                  through is well established in antitrust laws and economics as well.

        122.      The purpose of the conspiratorial conduct of the Defendants and their co-

conspirators was to raise, fix, rig or stabilize the price of Air Flow Meters and, as a direct and

foreseeable result, the price of new motor vehicles containing Air Flow Meters and the price of

Air Flow Meters purchased for repair purposes.

        123.      Economists have developed techniques to isolate and understand the relationship

between one “explanatory” variable and a “dependent” variable in those cases when changes in

the dependent variable are explained by changes in a multitude of variables, even when all such

variables may be changing simultaneously. That analysis - called regression analysis - is

commonly used in the real world and in litigation to determine the impact of a price increase on

one cost in a product (or service) that is an assemblage of costs. Thus, it is possible to isolate and

identify only the impact of an increase in the price of Air Flow Meters on prices for new motor

vehicles even though such products contain a number of other components whose prices may be

changing over time.
                                                  23
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 24 of 31



       124.    A regression model can explain how variation in the price of Air Flow Meters

affects changes in the price of new motor vehicles. In such models, the price of Air Flow Meters

would be treated as an independent or explanatory variable. The model can isolate how changes

in the price of Air Flow Meters impact the price of new motor vehicles containing Air Flow Meters

while controlling for the impact of other price-determining factors.

       125.    The precise amount of the overcharge impacting the prices of new motor vehicles

containing Air Flow Meters can be measured and quantified.

       126.    Commonly used and well-accepted economic models can be used to measure both

the extent and the amount of the supracompetitive charge passed through the chain of distribution.

Thus, the economic harm to Plaintiff and the population of Puerto Rico can be quantified.

       127.    In addition to the regression analysis discussed above demonstrating impact on

consumers, the Department of Justice’s Antitrust Division, which has been investigating

anticompetitive conduct in the automotive parts industry for some time, has concluded that there

is “no doubt” that consumers were hurt financially.

       128.    Sharis A. Pozen, then Acting Assistant Attorney General in charge of the

Department of Justice’s Antitrust Division said there is no doubt consumers were hurt financially

by the automotive wire harness price-fixing conspiracy. “By rigging bids . . . [automotive parts

manufacturers engaged in a price-fixing conspiracy] inflated what some of their auto

manufacturing clients paid, and indirectly, what consumers paid for some cars,” Ms. Pozen said.

She also explained that “[a]s a result of this international price-fixing and bid-rigging conspiracy,

automobile manufacturers paid noncompetitive and higher prices for parts in cars sold to U.S.

consumers.”

       129.    On February 15, 2013, Scott Hammond, then the Deputy Assistant Attorney

General in the Antitrust Division, discussed the DOJ’s automotive parts investigation in a

                                                24
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 25 of 31



Thomson Reuters article. He said “[t]he investigation is broader than what we’ve announced so

far . . . .[The investigation] is still very much ongoing, but it already appears to be the biggest

criminal antitrust investigation that we’ve ever encountered. I say the biggest with respect to the

impact on U.S. businesses and consumers, and the number of companies and executives that are

subject to the investigation.” (emphasis added).

        130.   By reason of the violations of the antitrust law alleged herein, Plaintiff, the

population of Puerto Rico, and its consumers have sustained injury to their businesses or property,

having paid higher prices for Air Flow Meters than they would have paid in the absence of the

Defendants’ and their co-conspirators’ illegal contract, combination, or conspiracy, and, as a

result, have suffered damages in an amount presently undetermined. This is an antitrust injury of

the type that the antitrust laws were meant to punish and prevent, which should be enjoined

permanently.


 PLAINTIFF’S CLAIMS ARE NOT BARRED BY THE STATUTE OF LIMITATIONS

        A. The Statute of Limitations Did Not Begin to Run Because the Population of
           Puerto Rico and the Government Agencies of Puerto Rico Did Not And
           Could Not Discover Their Claims

        131.   Plaintiff repeat and re-allege the allegations set forth above.

        132.   Neither the population of Puerto Rico nor the governmental agencies of Puerto Rico

had knowledge of the combination or conspiracy alleged herein, or of facts sufficient to place them

on inquiry notice of the claims set forth herein, until (at the earliest) September 26, 2013, the date

that the DOJ publicly announced Defendant Hitachi Automotive Systems, Ltd.’s anticipated guilty

plea.

        133.   Plaintiff brings this action on behalf of the population of Puerto Rico and the

governmental agencies of Puerto Rico who purchased or leased automobiles or purchased Air

Flow Meters to replace or repair damaged or defective Air Flow Meters in their automobiles. They
                                                25
          Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 26 of 31



had no direct contact or interaction with the Defendants in this case and had no means from which

they could have discovered the combination and conspiracy described in this Complaint before

September 26, 2013, the date that the DOJ publicly announced Defendant Hitachi Automotive

Systems, Ltd.’s anticipated guilty plea.

       134.      No information in the public domain was available to the Plaintiff or the population

of Puerto Rico prior to September 26, 2013, the date that the DOJ publicly announced Hitachi

Automotive Systems, Ltd.’s anticipated guilty plea, that revealed sufficient information to suggest

that the Defendants were involved in a criminal conspiracy to price-fix and rig bids for Air Flow

Meters.

       135.      Plaintiff, the population of Puerto Rico and its governmental agencies, had no

means of obtaining any facts or information concerning any aspect of the Defendants’ dealings

with OEMs or other direct purchasers, much less the fact that they and their co-conspirators had

engaged in the combination and conspiracy alleged herein.

       136.      For these reasons, the statute of limitations as to Plaintiff’s claims did not begin to

run, and has been tolled with respect to the claims that Plaintiff has alleged in this Complaint.

          B. Fraudulent Concealment Tolled the Statute of Limitations

       137.      In the alternative, application of the doctrine of fraudulent concealment tolled the

statute of limitations on the claims asserted herein by Plaintiff.

       138.      Plaintiff, Puerto Rico’s government agencies, and the population of Puerto Rico did

not discover, and could not discover through the exercise of reasonable diligence, the existence of

the conspiracy alleged herein until September 26, 2013, the date that the DOJ publicly announced

Defendant Hitachi Automotive Systems, Ltd.’s anticipated guilty plea.

          139.   Before that time, Plaintiff, Puerto Rico’s government agencies, and the population

of Puerto Rico were unaware of the Defendants’ unlawful conduct, and did not know before then

                                                  26
        Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 27 of 31



that they were paying supracompetitive prices for Air Flow Meters throughout the United States

during the Period.

        140.   No information, actual or constructive, was ever made available to Plaintiff, Puerto

Rico’s government agencies, or the population of Puerto Rico that even hinted to them that they

were being injured by the Defendants’ unlawful conduct.

        141.   The affirmative acts of the Defendants alleged herein, including acts in furtherance

of the conspiracy, were wrongfully concealed and carried out in a manner that precluded detection.

        142.   By its very nature, the Defendants’ and their co-conspirators’ anticompetitive

conspiracy was inherently self-concealing.

        143.   Air Flow Meters are not exempt from antitrust regulation, and thus, before

September 26, 2013, Plaintiff, Puerto Rico’s government agencies, and the population of Puerto

Rico reasonably considered the Air Flow Meters industry to be a competitive industry.

        144.    Accordingly, a reasonable person under the circumstances would not have been

alerted to begin to investigate the legitimacy of the Defendants’ Air Flow Meter prices before

September 26, 2013.

       145.    Plaintiff, Puerto Rico’s government agencies, and the population of Puerto Rico

could not have discovered the alleged contract, conspiracy or combination at an earlier date by the

exercise of reasonable diligence because of the deceptive practices and techniques of secrecy

employed by the Defendants and their co-conspirators to avoid detection of, and fraudulently

conceal, their contract, combination, or conspiracy.

       146.    Because the alleged conspiracy was both self-concealing and affirmatively

concealed by the Defendants and their co-conspirators, neither Plaintiff, Puerto Rico’s government

agencies, nor the population of Puerto Rico had any knowledge of the alleged conspiracy, or of

any facts or information that would have caused a reasonably diligent person to investigate whether
                                               27
                 Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 28 of 31



       a conspiracy existed, until September 26, 2013, the date that the DOJ publicly announced Hitachi

       Automotive Systems, Ltd.’s anticipated guilty plea.

              147.    For these reasons, the statute of limitations applicable to Plaintiff’s claims was

       tolled and did not begin to run until September 26, 2013.

                                       FIRST CLAIM FOR RELIEF
                                       Injunctive Relief 15 U.S.C. § 15

          148.        Plaintiff incorporates by reference the allegations in the preceding paragraphs.

          149.        Plaintiff asks this Court to enjoin Defendants from continuing to violate the Clayton

Act.

                                    SECOND CLAIM FOR RELIEF
                       Unjust Enrichment and Disgorgement of Profits (31 L.P.R.A.)

          150.        Plaintiff incorporates by reference the allegations in the preceding paragraphs.

              151.    By paying more for products containing Air Flow Meters than it would have been in

       the absence of Defendants’ wrongful conduct, consumers and governmental agencies of Puerto Rico

       have conferred a benefit on Defendants.

              152.    As a result of Defendants’ wrongful conduct, Defendants were able to charge more

       for Air Flow Meters and vehicles which overpayments were made by consumers and governmental

       agencies of Puerto Rico.

              153.    Defendants have been unjustly enriched by Plaintiff consumers and governmental

       agencies of Puerto Rico’s overpayments.

              154.    Equity demands that Defendants be required to make restitution and return the

       overpayment to Plaintiff.

              155.    Plaintiff seeks disgorgement of all monies resulting from such overpayments and

       establishment of a constructive trust from which Plaintiff may seek restitution.

              156.    Plaintiff files this Complaint on its own behalf, for its governmental entities, and as

                                                      28
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 29 of 31



parens patriae for all persons who reside or resided in Puerto Rico to enforce public rights and to

protect its residents from Defendants’ unjust enrichment.

       157.    Defendants’ conspiracy enriched them unjustly.

       158.    Defendants’ enrichment resulted in harm [impoverishment] of Plaintiff.

       159.    There is a connection or Nexus between the loss [impoverishment] of Plaintiff and

the enrichment of Defendants.

       160.    There is no cause that justifies the enrichment.

       161.    There is no legal principle that excludes the use of unjust enrichment.

       162.    There is no adequate legal remedy to correct the harm to Plaintiff.

       163.    As a consequence of the intentional, malicious, and negligent actions committed in

bad faith by all the Defendants, the patrimony of everyone represented by Plaintiff diminished

significantly and all Defendants benefitted in that way increasing their patrimony substantially, so

that Plaintiff in representation of the consumers and governmental agencies of Puerto Rico, demands

that all Defendants, restore and indemnify Plaintiff for the unjust enrichment in which they have

engaged, which is estimated in an amount no less than $50,000,000.00 plus interest.

                                    PRAYER FOR RELIEF

       Accordingly, Plaintiff respectfully requests that:

       A.      That the Defendants’ conduct, contract, conspiracy, or combination, and related

acts and practices alleged in this complaint be adjudged and decreed to have unjustly enriched

them at Plaintiff’s expense;

       B.      That Defendants be ordered to cease all cooperative agreements, joint ventures,

cross-license agreements, or other arrangements used to facilitate the conspiracy alleged in this

complaint and that the same be adjudged rescinded or dissolved;

       C.      That Defendants reimburse for the amounts by which the consumers and

                                               29
         Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 30 of 31



governmental agencies in Puerto Rico were impoverished by the unjust enrichment of Defendants

in an amount not less than $50,000,000;

        D.       That Plaintiff be awarded such additional amounts as provided by law;

        E.       That Plaintiff be awarded pre- and post-judgment interest at the highest legal rate;

        F.       That Plaintiff be awarded all costs of investigation, costs of litigation, including

court costs and reasonable attorneys’ fees; and

        G.       That the Court order such other relief as it may deem just and proper under the

circumstances.

                                          JURY DEMAND

        Plaintiff demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.

 Dated: February 22, 2020                      Respectfully submitted,

                                               s/Johan Rosa
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                                                  30
Case 3:20-cv-01102-DRD Document 1 Filed 02/24/20 Page 31 of 31



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                             31
